                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE


 UNITED STATES OF AMERICA,                         )
                                                   )
        Plaintiff,                                 )
                                                   )
 v.                                                )       No. 3:07-cr-51
                                                   )       (Phillips/Shirley)
 JOHNNIE MARTIN,                                   )
                                                   )
        Defendant.                                 )


                               MEMORANDUM AND ORDER

        On February 14, 2008, the Honorable C. Clifford Shirley, United States Magistrate

 Judge, ruling from the bench, denied defendant’s motion to dismiss for prosecutorial

 misconduct [Doc. 252].      On February 15, 2008, Judge Shirley issued a three-page

 memorandum and order [Doc. 269], in which he, inter alia, affirmed his oral ruling denying

 defendant’s motion to dismiss for prosecutorial misconduct. The matter is now before the

 court on defendant Johnnie Martin’s appeal of the memorandum and order [Doc. 283].

 Defendant, now proceeding pro se, requests that this court overrule that portion of the

 memorandum and order in which Judge Shirley denied his motion to dismiss for

 prosecutorial misconduct and accordingly that this court dismiss the charges against him.

        Judge Shirley’s memorandum and order was issued pursuant to 28 U.S.C. § 636(b).

 Under that provision, the court can reconsider the magistrate judge’s ruling if it is “clearly

 erroneous” or “contrary to law.” Accordingly, the court has undertaken a careful review of

 the transcript of the proceedings of February 14, 2008 and the memorandum and order

 dated February 15, 2008. After so doing, the court concludes that Judge Shirley’s rulings




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 are consistent with the relevant facts and applicable case law. As Judge Shirley noted,

 defendant has not made any specific allegations that Assistant United States Attorney

 (“AUSA”) David Jennings did anything overtly wrong. Moreover, the evidence simply does

 not support defendant’s allegation that AUSA Jennings knew or should have known that

 the defense would call Mr. Joe Cofer as a witness. Finally, it is important to note, as did

 Judge Shirley, that AUSA Jennings continues to maintain vigorously that the United States

 will not be calling Mr. Cofer as a witness.

        The rulings rendered by Judge Shirley are accordingly AFFIRMED on the basis of

 the reasoning set forth in his oral ruling of February 14, 2008 and his memorandum and

 order dated February 15, 2008, whereby defendant’s appeal [Doc. 283] is DENIED in its

 entirety.

        IT IS SO ORDERED.



                                    ENTER:


                                           s/ Thomas W. Phillips
                                         United States District Judge




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